                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

G. MARIE NEWBY, Individually, and  )
as Administratrix of THE ESTATE OF )
TERRY CHILDRESS,                   )
                                   )
      Plaintiffs,                  )
                                   )
v.                                 )                   Civil Action Number 3:22-CV-93
                                   )                   Chief Judge Waverly D. Crenshaw, Jr.
CORECIVIC OF TENNESSEE, LLC,       )                   Magistrate Judge Jeffery S. Frensley
as Owner and Operator of TROUSDALE )                   Jury Demand
TURNER CORRECTIONAL CENTER, )
DAMON HININGER, STEVE CONRY, )
RAYMOND BYRD, and SHAWNA           )
CURTIS,                            )
                                   )
      Defendants.                  )


               JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY


         The parties hereby notify the Court that they have resolved this matter pending final

documentation. The parties request that all pending motions and discovery obligations, including

those of third parties, be stayed until an order of dismissal is entered.


                                                       Respectfully submitted,


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